Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page1 of 110




                                Exhibit A
                              (Part 1 of 2)
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page2 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page3 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page4 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page5 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page6 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page7 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page8 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page9 of 110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page10 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page11 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page12 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page13 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page14 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page15 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page16 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page17 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page18 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page19 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page20 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page21 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page22 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page23 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page24 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page25 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page26 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page27 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page28 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page29 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page30 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page31 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page32 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page33 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page34 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page35 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page36 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page37 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page38 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page39 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page40 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page41 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page42 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page43 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page44 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page45 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page46 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page47 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page48 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page49 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page50 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page51 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page52 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page53 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page54 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page55 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page56 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page57 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page58 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page59 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page60 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page61 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page62 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page63 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page64 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page65 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page66 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page67 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page68 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page69 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page70 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page71 of
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Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page72 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page73 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page74 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page75 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page76 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page77 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page78 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page79 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page80 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page81 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page82 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page83 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page84 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page85 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page86 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page87 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page88 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page89 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page90 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page91 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page92 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page93 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page94 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page95 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page96 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page97 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page98 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page99 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page100 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page101 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page102 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page103 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page104 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page105 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page106 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page107 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page108 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page109 of
                                     110
Case:17-17465-KHT Doc#:63-1 Filed:08/22/17   Entered:08/22/17 15:22:10 Page110 of
                                     110
